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14   and OTTOMOTTO LLC

15                               UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                     SAN FRANCISCO DIVISION
18   WAYMO LLC,                                          Case No.      3:17-cv-00939-WHA
19                        Plaintiff,                     DECLARATION OF MICHELLE
                                                         YANG IN SUPPORT OF
20          v.                                           DEFENDANTS’ ADMINISTRATIVE
                                                         MOTION TO FILE UNDER SEAL
21   UBER TECHNOLOGIES, INC.,                            PORTIONS OF THEIR RESPONSE
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                   TO COURT’S REQUESTS FOR LIST
22                                                       OF FACTS OCCURRING AFTER
                          Defendants.                    COMMENCEMENT OF TRIAL
23                                                       THAT UBER PLANS TO PRESENT
                                                         TO THE JURY (DKT 784, ¶ 1)
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     YANG DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     sf-3803385
     Case 3:17-cv-00939-WHA Document 852-1 Filed 07/10/17 Page 2 of 3



 1          I, Michelle Yang, declare as follows:

 2          1.       I am an attorney at the law firm of Morrison & Foerster LLP. I make this

 3   declaration based upon matters within my own personal knowledge and if called as a witness, I

 4   could and would competently testify to the matters set forth herein. I make this declaration in

 5   support of Defendants’ Administrative Motion to File Under Seal Portions of Their Response to

 6   Court’s Requests for List of Facts Occurring after Commencement of Trial that Uber Plans to

 7   Present to the Jury (Dkt. 784, ¶ 1).

 8          2.       I have reviewed the following documents and confirmed that only the portions

 9   identified below merit sealing:

10
     Document                          Portions to Be Filed Under Seal            Designating Party
11
     Response to Court’s                     Highlighted Portions             Plaintiff (green highlight)
12   Requests for List of Facts                                              Defendants (blue highlight)
     (“List of Facts”)
13

14          3.       The green-highlighted portions on pages 8-9 of the List of Facts contain technical

15   information that has previously been designated by Waymo as either confidential or highly

16   confidential.

17          4.       The blue-highlighted portions on page 14 of the List of Facts contain highly

18   confidential information regarding Uber’s LiDAR development and business strategy. This

19   highly confidential information is not publicly known, and its confidentiality is strictly

20   maintained. I understand that this information could be used by competitors to Uber’s detriment

21   to gain an advantage over Uber in LiDAR development and business strategy. For example,

22   disclosure of this information, which contains Uber’s internal development timeline estimate,

23   would allow competitors to understand Uber’s LiDAR development and business strategy, and

24   allow them to tailor their own LiDAR development and business strategy. If such information

25   were made public, I understand Uber’s competitive standing could be significantly harmed.

26          5.       Defendants’ request to seal is narrowly tailored to the portions of the List of Facts

27   that merit sealing.

28

     YANG DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1          I declare under penalty of perjury that the foregoing is true and correct. Executed this

 2   10th day of July, 2017 in San Francisco, California.

 3
                                                                   /s/ Michelle Yang
 4                                                                     Michelle Yang
 5

 6
                                 ATTESTATION OF E-FILED SIGNATURE
 7
            I, Arturo J. González, am the ECF User whose ID and password are being used to file this
 8
     Declaration. In compliance with General Order 45, X.B., I hereby attest that Michelle Yang has
 9
     concurred in this filing.
10

11   Dated: July 10, 2017                                      /s/ Arturo J. González
                                                                   Arturo J. González
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     YANG DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
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     sf-3803385
